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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                  NO. 4:13CR00344-01 JLH

MARK LYLE DODSON                                                                      DEFENDANT

                                              ORDER

       Pending before the Court is defendant Mark Lyle Dodson’s unopposed motion for mental

evaluation and continuance of the trial date. Document #54. The motion for mental evaluation is

GRANTED.

       IT IS THEREFORE ORDERED that Mark Lyle Dodson be committed to the custody of the

United States Marshals Service to await designation of a Bureau of Prisons facility where the

psychiatric or psychological examination will be performed. The United States Marshals Service

for the Eastern District of Arkansas is directed to notify the Court immediately upon receipt of Mark

Lyle Dodson’s facility designation. Based on 18 U.S.C. § 3161(h)(1)(A), this time period is

excludable under the Speedy Trial Act.

       The Court has fully considered the motion for continuance of the September 15, 2014, trial

date and finds that the interests of justice served by granting the continuance outweighs the best

interest of the public and the defendant for a speedy trial in that the issues herein are such that to

deny the motion would deny counsel for the defendant the reasonable time necessary for effective

preparation for trial and to develop any and all proper defenses which might be averred in the

defendant’s behalf.

       IT IS FURTHER ORDERED that the defendant’s motion for continuance be, and it is

hereby, GRANTED. Document #54. Therefore, this matter is rescheduled for trial to a jury to begin
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at 9:15 a.m. the week of MONDAY, MARCH 23, 2015, in Courtroom #4-D, Richard Sheppard

Arnold United States Courthouse, Little Rock, Arkansas. Counsel are to be present thirty minutes

prior to trial. Jury instructions should be electronically submitted to the Court by March 13, 2015,

in WordPerfect format to jlhchambers@ared.uscourts.gov.

       The delay occasioned by this continuance shall be excludable under the provisions of the

Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A).

       IT IS SO ORDERED this 19th day of August, 2014.




                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE




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